     Case 18-14588-JKS          Doc 43      Filed 12/13/18 Entered 12/13/18 14:11:48                Desc Main
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  Marie-Ann Greenberg MAG-1284
  Marie-Ann Greenberg, Standing Trustee
  30 TWO BRIDGES ROAD
  SUITE 330
  FAIRFIELD, NJ 07004-1550
  973-227-2840
  Chapter 13 Standing Trustee

                                                              UNITED STATES BANKRUPTCY COURT
  IN RE:                                                      DISTRICT OF NEW JERSEY
    OSMAN S ALI,                                              Case No.: 18-14588 JKS

                                        Debtor
                                  NOTICE OF RESERVE ON CLAIM
 Creditor:           MTGLQ INVESTORS LP
 Trustee Claim #:     1
 Claimed Amount:     $230,000.00
 Date Claim Filed:   08/27/2018

 Please be advised that a reserve has been placed on the above named claim for the following reason:

        Transfer of Claim, Doc 41, filed on 12/11/18, was filed with the payment address with two different
        cities and states. Creditor needs to refile a transfer with correct address for payment. No change made to
        claim.
Unless we receive the information needed or the necessary documents are filed with the Court, we will continue to
reserve the funds and the funds will be sent to the United States Bankruptcy Court upon the closing of the case .

                                                            By: /S/ Marie-Ann Greenberg
Dated: December 13, 2018                                        Chapter 13 Standing Trustee


OSMAN S ALI
40 TANGLEWOOD DRIVE
SUMMIT, NJ 07901

BRUCE J. DUKE, LLC
648 TABERNACLE ROAD
P.O. BOX 1418
MEDFORD, NJ 08055

MTGLQ INVESTORS LP
RUSHMORE LOAN MANAGEMENT SERVICES LLC
15480 LAGUNA CANYON RD STE 100
IRVINE, CA 92618
US BANK TRUST NATIONAL ASSOCIATION
C/O SN SERVICING CORP
323 5TH ST
EUREKA, CA 954501
